          Case 8:19-cr-00200-TDC Document 83 Filed 05/07/21 Page 1 of 4



                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                SOUTHERN DIVISION

UNITED STATES OF AMERICA                         *

v.                                               *            Crim. No. TDC-19-200

ERIC EOIN MARQUES                                *

*      *     *     *    *     *     *      *   *     *
     MOTION TO STRIKE GOVERNMENT’S NOTICE OF WITNESS TO SPEAK AT
                          SENTENCING (ECF 73)

       Eric Eoin Marques, through undersigned counsel, respectfully moves to strike the

“Government’s Notice of Witness to Speak at Sentencing” (hereinafter “Notice”) and to exclude

the testimony of a proposed Government witness due to non-compliance with the Court’s

Scheduling Order and because the testimony of the proposed witness is cumulative of other

evidence already before the Court. In further support, Mr. Marques argues as follows:

       On February 6, 2020, Mr. Marques entered a plea of guilty. A Sentencing Order was

entered explicitly mandating that “[i]f counsel for either party intends to call any witnesses at the

sentencing hearing, counsel shall submit, in writing, to the Court and opposing counsel, . . . . not

less than 14 days before sentencing . . . a statement containing (a) the names of the witnesses, (b)

a synopsis of their anticipated testimony, and (c) an estimated length of the hearing.” ECF 64 ¶ 5

(emphasis added). Sentencing has been postponed several times and is now set for May 12, 2021.

       On April 28, 2021, the Government filed its Notice indicating that it “anticipates calling a

member of law enforcement” to testify at Mr. Marques’ sentencing. Notice, 1. The filing did

not include a name of the proposed witness. Id. On Friday, April 30, the undersigned contacted

the government and requested additional information, including the identity of the witness. On


                                                 1
          Case 8:19-cr-00200-TDC Document 83 Filed 05/07/21 Page 2 of 4



Wednesday at 9:35pm, the government responded with certain requested information, but failed

to identify the witness or to provide a curriculum vitae or equivalent summary of the witness’

background. As of this writing, no additional identifying information has been provided.

       “In general, the Confrontation Clause guarantees a defendant the right to question an

adverse witness about identifying information, including his full name and address.” See United

States v. Ramos-Cruz, 667 F.3d 487, 500 (4th Cir. 2012) (citing Smith v. Illinois, 390 U.S. 129,

131 (1968)). While this right is not absolute, any limitation on disclosure of a witness’ identifying

information ordinarily hinges on safety concerns that are not at issue here. See Chavis v. North

Carolina, 637 F.2d 213, 226 (4th Cir. 1980). Since the Government has ignored the requirement

to disclose the name of its proposed witness, the undersigned are deprived of the opportunity to

adequately prepare for cross-examination. For example, the undersigned cannot review prior

testimony of the witness or search for possible impeachment evidence related to the witness.

       In addition, the Government has provided no background information on the witness’

credentials, expertise, or his or her role in this case, or provided the witness’ resume or curriculum

vitae. Thus, the undersigned cannot assess whether the witness is, in fact, qualified to testify

about the proposed topic areas nor can the undersigned raise an objection to the witness’ testimony

based on the witness’ lack of knowledge, expertise, or experience. For these reasons, the Court

should strike the Notice and exclude the testimony.

       This remedy is also required as the unnamed witness’ testimony will be largely, if not

completely, cumulative of evidence already in the record. Though the Federal Rules of Evidence

do not formally apply at sentencing, see Fed. R. Evid. 1101(d)(3), the Court retains “wide latitude

as to the information [it] may consider in passing sentence after a conviction.” See United States


                                                  2
          Case 8:19-cr-00200-TDC Document 83 Filed 05/07/21 Page 3 of 4



v. Howard-Arias, 679 F.2d 363, 367 (4th Cir. 1982). The Government proffers that the unnamed

law enforcement witness will provide the following testimony:

       “[T]he amount and type of child sexual abuse material (“CSAM”) websites, and their
        content, that were found on the Defendant’s servers”;

       “[T]he “Defendant’s role in the conspiracy to advertise and distribute child sexual abuse
        material on his servers, and his role and place in the world in the advertisement and
        distribution of CSAM material”;

       “[H]ow Freedom Hosting worked for users and websites”;

       “[S]teps the Defendant took to protect his identity and the identities of his coconspirators”;

       “[T]estimony that the Defendant obstructed justice and was looking to abscond from justice
        when he was arrested”;

       “[T]he Defendant’s access to CSAM websites”;

       “[T]he number of new images discovered”;

       “[T]he type of CSAM discovered”;

       The “steps users needed to take to access and maintain membership on some of the CSAM
        websites hosted on the Defendant’s servers”;

       “The witness will also testify to and describe some of the videos and images recovered.”

Notice, 1-2. This testimony is largely (if not completely) duplicative of what is already contained

in the Plea Agreement’s factual basis, the Pre-Sentence Report, or both. As such, it is cumulative

under Fed. R. Evid. 403 and should be excluded.1

        Of course, Mr. Marques has a due process right to be sentenced only on accurate

information. See United States v. Lee, 540 F.2d 1205, 1211 (4th Cir. 1976). As to those



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  These topics are also discussed in the Government’s 40-page late-filed submission in aid of
sentencing. See ECF 78 (Under Seal). The undersigned moved to strike this pleading in a
separate filing. See ECF 82 (Under Seal).
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         Case 8:19-cr-00200-TDC Document 83 Filed 05/07/21 Page 4 of 4



proffered areas of testimony that Mr. Marques perceives as factually inaccurate, the undersigned

is prepared to address them at sentencing through argument or through the introduction of reliable

evidence already produced in discovery. A witness is not required.

       For the reasons noted above, this Court should strike the Government’s Notice of Witness

and exclude the testimony of an unnamed law enforcement witness.

                                     Respectfully submitted,

                                     JAMES WYDA
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                                     of Maryland

                                                         /s/
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